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11
12
13                              UNITED STATES DISTRICT COURT
14                            NORTHERN DISTRICT OF CALIFORNIA
15
16 MARTIN SCHNEIDER, SARAH                          Case No.: 3:16-cv-02200-HSG
   DEIGERT, LAURIE REESE
17 THERESA GAMAGE, TIFFANIE
   ZANGWILL, and NADIA PARIKKA,                     NOTICE OF MOTION AND
18 individually and on behalf of all others         MOTION OF DEFENDANT
   similarly situated,                              CHIPOTLE MEXICAN GRILL, INC.
19                                                  TO DISMISS COMPLAINT
                 Plaintiffs,
20                                                  [Fed. R. Civ. Proc. 12(b)(1) &12(b)(6)]
         v.
21                                                  Judge: Hon. Haywood S. Gilliam, Jr.
   CHIPOTLE MEXICAN GRILL, INC.,                    Ctrm.: 10 (San Francisco Courthouse)
22 a Delaware corporation,                          Hearing Date: July 28, 2016
                                                    Hearing Time: 2:00 p.m.
23                      Defendant.
24
25                                                  Action Filed: April 22, 2016
                                                    Trial Date: Not Set
26
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                                              -1-                       Case No. 3:16-cv-02200-HSG
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 1           TO PLAINTIFFS AND THEIR ATTORNEYS OF RECORD:
 2           NOTICE IS HEREBY GIVEN that, on July 28, 2016, at 2:00 p.m., or as soon
 3 thereafter as counsel may be heard by the Honorable Haywood S. Gilliam, Jr., in
 4 courtroom 10 of the above-titled Court, located at 450 Golden Gate Avenue, San
 5 Francisco, California 94102, defendant Chipotle Mexican Grill, Inc. (“Chipotle”)
 6 will, and hereby does, move the Court for an Order dismissing, without leave to
 7 amend, the Complaint (“Complaint”) filed by plaintiffs Martin Schneider, Sarah
 8 Deigert, Laurie Reese, Theresa Gamage, Tiffanie Zangwill and Nadia Parikka
 9 (“Plaintiffs”). In the alternative, Chipotle moves for an Order dismissing, without
10 leave to amend, those portions of the Complaint that fail to state a claim upon which
11 relief can be granted.
12           This Motion is made on the following grounds:
13           1.         Plaintiffs fail to state a claim because no reasonable consumer would be
14 deceived by Chipotle’s “Non-GMO Claims.” See Williams v. Gerber Prods. Co.,
15 552 F.3d 934 (9th Cir. 2008); Freeman v. Time, Inc., 68 F.3d 285 (9th Cir. 1995);
16 Lavie v. Procter & Gamble Co., 105 Cal. App. 4th 496 (2003); Zlotnick. v. Premier
17 Sales Grp., Inc., 480 F.3d 1281, 1284 (11th Cir. 2007); Luskin’s, Inc. v. Consumer
18 Protection Div., 353 Md. 335, 345-358 (1999); Druyan v. Jagger, 508 F. Supp. 2d
19 228, 244 (S.D.N.Y. 2007).
20           2.         Plaintiffs fail to state a claim for intentional misrepresentation and
21 negligent misrepresentation because neither claim can be based on alleged omissions.
22 See Conte v. Wyeth, Inc., 168 Cal. App. 4th 89, 101 n.7 (2008); Apollo Capital Fund,
23 LLC v. Roth Capital Partners, LLC, 158 Cal. App. 4th 226, 243 (2007).
24           3.         Plaintiffs fail to state a claim for intentional misrepresentation and
25 negligent misrepresentation because they have not alleged that Chipotle has made a
26 false statement. See Service by Medallion, Inc. v. Clorox Co., 44 Cal. App. 4th 1807,
27 1816 (1996); Diediker v. Peelle Fin. Corp., 60 Cal. App. 4th 288, 297 (1997).
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 1           4.         Plaintiffs lack standing to pursue prospective injunctive relief. See
 2 Wang v. OCZ Tech. Grp., Inc., 276 F.R.D. 618 (N.D. Cal. 2011); Hodgers-Durgin v.
 3 de la Vina, 199 F.3d 1037 (9th Cir. 1999).
 4           5.         Plaintiffs fail to state a claim for unjust enrichment because unjust
 5 enrichment is not a recognized cause of action. Lauriedale Assoc., Ltd. v. Wilson, 7
 6 Cal. App. 4th 1439, 1448 (1992); McKell v. Washington Mut., Inc., 49 Cal. App. 4th
 7 1457, 1490 (2006).
 8           6.         Plaintiffs fail to state a claim for declaratory relief because they have not
 9 alleged an actual controversy between the parties. See 28 U.S.C. § 2201(a).
10
11           This Motion is based upon this Notice of Motion and Motion; the attached
12 Memorandum of Points and Authorities; the concurrently-filed Request for Judicial
13 Notice; all the pleadings and papers on file in this action; and upon such oral
14 argument and other matters as may be presented to the Court at the time of the
15 hearing.
16
17 Dated: May 17, 2016               MESSNER REEVES, LLP
                                     SHEPPARD, MULLIN, RICHTER & HAMPTON, LLP
18
19
                                     By: /s/ Sascha Henry______________________
20                                       Sascha Henry
                                         Attorneys for Defendant
21                                       CHIPOTLE MEXICAN GRILL, INC.
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 1                        STATEMENT OF THE ISSUES TO BE DECIDED
 2           This Motion raises the following issues:
 3           1.         Whether the Complaint fails to state a claim under the California
 4 Consumers Legal Remedies Act (“CLRA”), the California False Advertising Law
 5 (“FAL”), the California Unfair Competition Law (“UCL”), the Florida Deceptive and
 6 Unfair Trade Practices Act (“FDUTPA”), the Maryland Consumer Protection Act
 7 (“MCPA”) and Sections 349 and 350 of the New York General Business Law
 8 (“Sections 349 and 350”) because no reasonable consumer would be deceived by
 9 Chipotle’s “Non-GMO Claims.”
10           2.         Whether the Complaint fails to state a claim for intentional and/or
11 negligent misrepresentation because Plaintiffs claims are based on alleged omissions.
12           3.         Whether the Complaint fails to state a claim for intentional and/or
13 negligent misrepresentation because Plaintiffs have not alleged that Chipotle has
14 made a false representation.
15           4.         Whether Plaintiffs lack standing to pursue the prospective injunctive
16 relief sought through the Complaint.
17           5.         Whether the Complaint fails to state a claim for unjust enrichment
18 because unjust enrichment is not a recognized cause of action.
19           6.         Whether the Complaint fails to state a claim for declaratory relief
20 because Plaintiffs have not alleged an actual controversy between the parties.
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 1                      MEMORANDUM OF POINTS AND AUTHORITIES
 2                                     I. INTRODUCTION
 3           This is the second lawsuit filed in this Court against Chipotle Mexican Grill,
 4 Inc. (“Chipotle”) by Plaintiffs’ counsel relating to Chipotle’s announcement on
 5 April 27, 2015, that it had “‘achieved its goal of moving to only non-GMO
 6 ingredients to make all of the food in its U.S. restaurants.’” Previously, Plaintiffs’
 7 counsel had filed Colleen Gallagher v. Chipotle Mexican Grill, Inc., 15-CV-3952
 8 (HSG), and the Court had dismissed, with leave to amend, Ms. Gallagher’s
 9 complaint. In Gallagher, the plaintiff had “not alleged that any of the ‘ingredients’”
10 in Chipotle’s food “have ‘been altered using . . . genetic engineering techniques.’”
11 (RJN, Exh. 1, p. 6; Gallagher v. Chipotle Mexican Grill, 2016 WL 454083, *4
12 (February 5, 2016).) Here, Plaintiffs are still unable to allege that the ingredients in
13 Chipotle’s food have been altered using genetic engineering techniques. Thus, as in
14 Gallagher, the complaint should be dismissed.
15           Chipotle owns and operates a chain of “fast casual” restaurants that serves a
16 focused menu of Mexican-inspired fare, consisting primarily of burritos, tacos and
17 salads. (See Complaint, ¶ 15.) Six Plaintiffs – this time not including Ms. Gallagher
18 – purport to assert eight claims on behalf of putative plaintiff classes from four
19 different states.
20           Plaintiffs assert that all of Chipotle’s “Non-GMO Claims” – which they define
21 to mean “that its food is made with ‘only non-GMO ingredients’…” (Complaint,
22 ¶ 40) – are deceptive because Chipotle uses meat and dairy ingredients sourced from
23 animals that may have consumed GMO feed and because Chipotle serves third-party
24 soft drinks that contain GMOs. (See id. at ¶ 41.) Plaintiffs’ allegations of deception
25 are not plausible because Chipotle’s website – which, by definition, is among the
26 “Non-GMO Claims” challenged by Plaintiffs – expressly states:
27           The meat and dairy products we buy come from animals that are not
28           genetically modified. But it is important to note that most animal feed
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 1           in the U.S. is genetically modified, which means that the meat and
 2           dairy served at Chipotle are likely to come from animals given at least
 3           some GMO feed. … [¶] Many of the beverages sold in our
 4           restaurants contain genetically modified ingredients, including those
 5           containing high fructose corn syrup, which is almost always made
 6           from GMO corn.
 7 (Food With Integrity, G-M-Over It, Chipotle, http://chipotle.com/gmo [“GMO
 8 Webpage”] [RJN, Exh. 3] [cited at Complaint, ¶¶ 35, 37].) The reasonable consumer
 9 cannot interpret this language to mean either that Chipotle’s ingredients are “not
10 sourced from animals that were raised on GMO” (Complaint, ¶¶ 50-55) or that
11 Chipotle does not serve third-party soft drinks containing GMOs. Therefore,
12 Plaintiffs cannot plausibly allege that Chipotle’s “Non-GMO Claims” are either false
13 or deceptive.
14          Moreover, Plaintiffs’ claims fail even if the information contained on Chipotle’s
15 website were not considered. The “Non-GMO Claims” quoted and depicted in the
16 Complaint confirm that Chipotle uses the term “non-GMO” only when talking about
17 the ingredients of its food. (See id. at ¶¶ 1, 31, 34-38.) Thus, when Plaintiffs allege
18 that they understood Chipotle’s “Non-GMO Claims” to mean that its ingredients are
19 “not sourced from animals that were raised on GMO” feed (id. at ¶¶ 50-55) or that
20 the third-party soft drinks that it offers for sale do not contain GMOs, what Plaintiffs
21 are really saying is that they understood Chipotle’s representations regarding the
22 “non-GMO” nature of the “ingredients” of its “food” to extend beyond the
23 ingredients of its food. It is simply not plausible that the reasonable consumer would
24 interpret Chipotle’s “Non-GMO Claims” in this manner. Chipotle’s “Non-GMO
25 Claims” are phrased in everyday language that is readily understood by the
26 reasonable consumer, and the “Non-GMO Claims” quoted and depicted in the
27 Complaint say nothing – one way or the other – about either the nature of the feed
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 1 consumed by the animals from which Chipotle sources its meat and dairy ingredients
 2 or the third-party soft drinks that it offers.
 3           For these reasons, and for others discussed below, Plaintiffs’ claims fail.
 4                                II. PLAINTIFFS’ ALLEGATIONS
 5           Plaintiffs contend that Chipotle’s “Non-GMO Claims” are reasonably
 6 understood by consumers to “mean that Chipotle’s menu is 100% free of GMOs” and
 7 that they are deceptive because Chipotle serves meat and dairy ingredients sourced
 8 from animals that may have consumed GMO feed and because it offers third-party
 9 soft drinks that may contain GMOs. (Complaint, ¶ 2.)
10           Plaintiffs allege that their theories support the following causes of action:
11 (1) violation of the California Consumer Legal Remedies Act, Cal. Civ. Code §
12 1750, et seq. (the “CLRA”); (2) violation of the California False Advertising Law,
13 Cal. Bus. & Prof. Code § 17500, et seq. (the “FAL”); (3) violation of the California
14 Unfair Competition Law, Cal. Bus. & Prof. Code § 17200, et seq. (the “UCL”);
15 (4) violation of the Florida Deceptive and Unfair Trade Practices Act, Fla. Stat. §
16 501.201, et seq. (the “FDUTPA”); (5) violation of the Maryland Consumer
17 Protection Act, MD. Code Ann. § 13-101, et seq. (the “MCPA”); (6) violation of
18 New York Gen. Bus. Law § 349, et seq. (“section 349”); (7) violation of New York
19 Gen. Bus. Law § 350, et seq. (“section 350”); (8) unjust enrichment;
20 (9) misrepresentation; and (10) declaratory relief.
21 A.        Chipotle’s Representations About Its Use Of “Non-GMO Ingredients.”
22           1.         Representations Quoted Or Depicted In The Complaint.
23           The Complaint quotes or depicts several examples of Chipotle’s “Non-GMO
24 Claims,” none of which state or imply anything about either the nature of the feed
25 consumed by the animals from which Chipotle sources its meat and dairy ingredients
26 or the third-party soft drinks that it offers.
27           In a press release – titled “Chipotle Becomes the First National Restaurant
28 Company to Use Only Non-GMO Ingredients” – Chipotle announced that it had
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 1 “‘achieved its goal of moving to only non-GMO ingredients to make all of the food
 2 in its U.S. restaurants.’” (Complaint, ¶ 31 [quoting Press Release {RJN, Exh. 4}].)
 3 Chipotle explains that “GMOs, or genetically modified organisms, are crops that
 4 have had specific changes introduced to their DNA that don’t occur naturally, using
 5 the science of genetic engineering.” (Press Release [RJN, Exh. 4].) Chipotle also
 6 invites consumers interested in “more information about Chipotle’s ingredients and
 7 its move to non-GMO foods, [to] visit www.chipotle.com/gmo.” (Id.; see also GMO
 8 Webpage [RJN, Exh. 3].)
 9           In an overhead menu panel displayed in its restaurants, Chipotle talks of
10 “striving to make our ingredients better” by replacing GMOs with “non-GMO
11 ingredients” and directs consumers to “CHIPOTLE.COM/GMO.” (Complaint, ¶ 35
12 [emphases added].)
13           The restaurant door graphic depicted in the Complaint announces Chipotle’s
14 “Farewell To GMOs” with the statement: “When it comes to our food, genetically
15 modified ingredients don’t make the cut.” and directs consumers interested in
16 learning more to “CHIPOTLE.COM/GMO.” (Id. at ¶ 37 [emphasis added].)
17           On another overhead menu panel, around pictures only of ingredients used in
18 food products prepared in its restaurants, Chipotle explains: “We prepare our
19 delicious ingredients simply, using classic cooking techniques, without added sugar,
20 artificial sweetener, flavors, or colors. This includes … only non-GMO ingredients.”
21 (Id. at ¶¶ 1 & 38 [emphases added].)
22           “On Twitter, Chipotle announced … : ‘We’re now making all of the food at
23 our US restaurants with only non-GMO ingredients….’” (Id. at ¶ 34.)1
24           As Plaintiffs admit, another graphic depicted in the Complaint represents that
25 Chipotle’s “food is ‘made with no-GMO ingredients.’” (Id. at ¶ 36.)
26
     1
27  It is apparent that the language tweet depicted in paragraph 34 that refers to
   Chipotle having a “GMO free menu” originated from “BUSINESSINSIDER.COM,”
28 not Chipotle.
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 1           2.         Representations Not Quoted Or Depicted In The Complaint.
 2           Because the “Non-GMO Claims” challenged by Plaintiffs expressly are “not
 3 limited to those set forth in this Complaint” (Complaint, ¶ 40), Chipotle’s
 4 representations outside the Complaint must also be considered.
 5           On the GMO Webpage that is specifically called out in the Press Release,
 6 restaurant door graphic and one of the overhead menu panels relied upon in the
 7 Complaint, Chipotle defines “GMO” as an organism “created by inserting genes from
 8 one species (typically bacteria or a virus) into the DNA of another.” (GMO Webpage
 9 [RJN, Exh. 3].) Chipotle explains that, “as we have learned more about GMO’s,
10 we’ve decided that using them in our food doesn’t align with [our] vision.” (Id.
11 [emphasis added].) Accordingly, Chipotle announced that, “[w]hen it comes to our
12 food, genetically modified ingredients don’t make the cut.” (Id. [emphasis added];
13 see also id. [“Why did we remove GMOs from our food?”; “Which ingredients in
14 Chipotle’s food were previously genetically modified?”] [emphases added].)
15           On that same webpage, under the heading “What About Beverages and Animal
16 Feed?,” Chipotle states:
17           The meat and dairy products we buy come from animals that are not
18           genetically modified. But it is important to note that most animal feed
19           in the U.S. is genetically modified, which means that the meat and
20           dairy served at Chipotle are likely to come from animals given at least
21           some GMO feed. We are working hard on this challenge, and have
22           made substantial progress: for example, the 100% grass-fed beef
23           served in many Chipotle restaurants was not fed GMO grain—or any
24           grain, for that matter. [¶] Many of the beverages sold in our
25           restaurants contain genetically modified ingredients, including those
26           containing high fructose corn syrup, which is almost always made
27           from GMO corn.
28 (Id.)
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 1 B.        Plaintiffs’ Alleged Purchases From Chipotle.
 2           Plaintiffs allege that, collectively, they purchased from Chipotle during the
 3 Class Period differing combinations of food items that included various meat and
 4 dairy ingredients, as well as some third-party soft drinks. (See Complaint, ¶¶ 50-55.)
 5           Plaintiffs further allege that, prior to their respective purchases, each of them
 6 “was aware of and was exposed to Chipotle’s ‘Food With Integrity’ campaign” and
 7 that each of them was “exposed to and relied on Chipotle’s media campaign….” (Id.)
 8 None of Plaintiffs deny that the “‘Food With Integrity’ campaign” and the “media
 9 campaign” to which each of them was exposed, and on which each of them relied,
10 included Chipotle’s website. Nevertheless, Plaintiffs further allege that each of them
11 interpreted these campaigns “to mean that Chipotle’s menu did not contain GMOs
12 and was not sourced from animals that were raised on GMO” feed. (Id.)
13                               III. PROCEDURAL HISTORY
14           Colleen Gallagher filed her Complaint on August 28, 2015 against Chipotle in
15 the captioned Gallagher v. Chipotle Mexican Grill, Inc. 15-CV-3952 (HSG).
16           Chipotle’s Motion to Dismiss the Complaint was heard on January 14, 2016.
17 At the hearing, the Court raised concerns regarding Ms. Gallagher’s failure to allege
18 what she actually purchased from Chipotle, and the Court and Plaintiffs’ counsel
19 agreed that Ms. Gallagher would be afforded leave “to amend to address that issue
20 specifically.” (Hearing Transcript [RJN, Exh. 2], p. 5:21-22; see also id. at 8:10-15.)
21 After noting that Plaintiff Gallagher had “pled a definition of what ‘GMO’ means
22 that seems inconsistent with [Chipotle’s] ingredients being GMOs,” the Court also
23 stated: “I may well be sending you back on this question of whether you can plead a
24 definition of ‘GMO’ that encompasses what you’re saying….” (Id. at 11:22-23 &
25 19:13-17.)
26           On February 5, 2016, the Court issued the Order. Consistent with the
27 statements made during the hearing, the Court dismissed the Complaint, but granted
28 Ms. Gallagher leave to file an amended complaint only “if she can in good faith
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 1 plausibly and specifically allege (1) injury-in-fact, and (2) why and how Defendant’s
 2 GMO Claims are false or misleading.” (Order, p. 7:18-21.)
 3           On March 11, 2016, Gallagher and Plaintiffs here filed the FAC, which,
 4 beyond attempting to address the deficiencies identified in the Order, added eight
 5 new claims and six new Plaintiffs, who purported to represent plaintiff classes in four
 6 different states.
 7           On March 28, 2016, Plaintiff Gallagher filed a Notice of Voluntary Dismissal
 8 and Withdrawal as Named Plaintiff. [Dkt. #42.] On April 4, 2016, the Court struck
 9 the new plaintiffs and claims as they exceeded the scope of the leave to amend that
10 the Court had granted. [Dkt. #44.]
11           On April 22, 2016, Plaintiffs filed this action, and the Court issued its Related
12 Case Order on May 2, 2016. [Dkt. #9.]
13                         IV. APPLICABLE LEGAL STANDARDS
14           Under Federal Rule of Civil Procedure 12(f), a court may strike a pleading or
15 any portion of a pleading that is “redundant, immaterial, impertinent, or scandalous.”
16           A motion to dismiss under Federal Rule of Civil Procedure 12(b)(6) tests the
17 legal sufficiency of the claims alleged in a complaint. See Ileto v. Glock, Inc., 349
18 F.3d 1191, 1199-1200 (9th Cir. 1995). A plaintiff must plead “enough facts to state a
19 claim to relief that is plausible on its face.” Bell Atl Corp. v. Twombly, 550 U.S. 544,
20 570 (2007). “The plausibility standard is not akin to a probability requirement, but it
21 asks for more than a sheer possibility that a defendant has acted unlawfully.”
22 Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Thus, a plaintiff must allege facts
23 sufficient to “raise a right to relief above the speculative level.” Twombly, 550 U.S.
24 at 555. Although all allegations of material fact are taken as true (see Erickson v.
25 Pardus, 551 U.S. 89, 93-94 (2007)), conclusory statements not supported by factual
26 allegations may be disregarded. See Iqbal, 556 U.S. at 678; Twombly, 550 U.S. at
27 555. Likewise, a court need not accept as true allegations contradicted by judicially
28
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 1 noticeable facts. See Davis v. HSBC Bank Nev., N.A., 691 F.3d 1152, 1160 (9th Cir.
 2 2012) (taking judicial notice of defendant’s website and dismissing complaint).
 3           Because Plaintiffs’ claims are premised on allegedly fraudulent conduct,
 4 Rule 9(b) also applies. See Kearns v. Ford Motor Co., 567 F.3d 1120, 1125 (9th Cir.
 5 2009). Rule 9(b) requires a plaintiff to “state with particularity the circumstances
 6 constituting fraud,” including “the who, what, when, where, and how of the
 7 misconduct charged.” Id. at 1124. Allegations of fraud must meet both Rule 9(b)’s
 8 particularity requirement and Iqbal’s plausibility standard. See Cafasso v. Gen.
 9 Dynamics C4 Sys., Inc., 637 F.3d 1047, 1055 (9th Cir. 2011).
10           A defendant may also move to dismiss an action for lack of subject matter
11 jurisdiction pursuant to Federal Rule of Civil Procedure 12(b)(1). If the plaintiff
12 lacks standing under Article III of the U.S. Constitution, then the court lacks subject
13 matter jurisdiction, and the case must be dismissed. See Steel Co. v. Citizens for a
14 Better Env’t, 523 U.S. 83, 101-102 (1998).
15                                      V. ARGUMENT
16 A.        Plaintiffs Fail To State A Claim Under The “Reasonable Consumer” Test.
17           Claims under the FAL, UCL, CLRA, FDUTPA, MCPA and Sections 349 and
18 350 are all “governed by the ‘reasonable consumer’ test,” which focuses on whether
19 “members of the public are likely to be deceived.” Williams v. Gerber Prods. Co.,
20 552 F.3d 934, 938 (9th Cir. 2008); see also Zlotnick. v. Premier Sales Grp., Inc., 480
21 F.3d 1281, 1284 (11th Cir. 2007) (Under the FDUTPA, a plaintiff must allege that
22 there is a “representation, omission, or practice that is likely to mislead the consumer
23 acting reasonably in the circumstances, to the consumer’s detriment.”); Luskin’s, Inc.
24 v. Consumer Protection Div., 353 Md. 335, 345-358 (1999) (adopting reasonable
25 consumer standard under the MCPA); Druyan v. Jagger, 508 F. Supp. 2d 228, 244
26 (S.D.N.Y. 2007) (“To state a claim for false advertising or deceptive business
27 practices, a plaintiff must allege … that the subject advertisement ‘is likely to mislead
28 a reasonable consumer acting reasonably under the circumstances.’”).
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 1           “[T]he reasonable consumer standard requires a probability ‘that a significant
 2 portion of the general consuming public or of targeted consumers, acting reasonably
 3 in the circumstances, could be misled.’” Ebner v. Fresh, Inc., -- F.3d. --, 2016 WL
 4 1056088, *4 (9th Cir. Mar. 17, 2016). The “reasonable consumer” is not the “least
 5 sophisticated consumer” or an “unwary consumer.” Hill v. Roll Int’l Corp., 195 Cal.
 6 App. 4th 1295, 1304 (2011); see also Lavie v. Procter & Gamble Co., 105 Cal. App.
 7 4th 496, 508 (2003) (“‘Likely to deceive’ implies more than a mere possibility that
 8 the advertisement might conceivably be misunderstood by some few consumers
 9 viewing it in an unreasonable manner.”)
10           Although “[t]he question of whether a business practice is deceptive in most
11 cases presents a question of fact not amenable to resolution on a motion to dismiss,
12 … dismissal is appropriate … where a Court can conclude as a matter of law that
13 members of the public are not likely to be deceived….” Pelayo v. Nestle USA, Inc.,
14 989 F. Supp. 2d 973, 978 (2013) (finding allegation that claim that pasta products
15 were “All Natural” was misleading to be implausible, and granting motion to dismiss,
16 because “the reasonable consumer is aware that [the pasta products] are not springing
17 fully formed from Ravioli trees and Tortellini bushes”). Accordingly, several courts
18 in this circuit have granted motions to dismiss false advertising claims on the basis of
19 the reasonable consumer standard. See, e.g., Carrea v. Dreyer’s Grand Ice Cream,
20 475 F. App’x 113, 115 (9th Cir. 2012) (affirming dismissal because “[i]t is
21 implausible that a reasonable consumer would interpret ‘Original Sundae Cone,’
22 ‘Original Vanilla,’ and ‘Classic,’ to imply that [the defendant’s product] is more
23 wholesome or nutritious than competing products”); McKinnis v. Kellogg USA, 2007
24 WL 4766060, *6 (C.D. Cal. Sept. 19, 2007) (dismissing, without leave to amend,
25 claims based on allegations that consumers were misled into believing that “Froot
26 Loops” cereal contained real fruit).
27           Here, the Court can conclude as a matter of law that members of the public are
28 not likely to be deceived by Chipotle’s “Non-GMO Claims.” Plaintiffs allege that the
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 1 “Non-GMO Claims” are deceptive because Chipotle prepares its food with meat and
 2 dairy ingredients sourced from animals that may have consumed GMO feed and
 3 because Chipotle offers third-party soft drinks that contain GMOs. First, Plaintiff
 4 defines “Non-GMO Claims” so broadly that it necessarily include statements made
 5 by Chipotle on its website, and no reasonable consumer who has reviewed Chipotle’s
 6 website could plausibly share Plaintiffs’ alleged interpretation of Chipotle’s “Non-
 7 GMO Claims.” Second, even ignoring Chipotle’s website, the reasonable consumer
 8 could not plausibly interpret the “Non-GMO Claims” quoted or depicted in the
 9 Complaint in the manner alleged by Plaintiffs.
10           1.         The Reasonable Consumer Who Read Chipotle’s Website Would Not
11                      Be Deceived By Chipotle’s “Non-GMO Claims.”
12           As this Court has noted, “‘[t]he primary evidence in a false advertising case is
13 the advertising itself.’” (RJN, Exh. 1, p. 5; 2016 WL 454083 at *3 [quoting Brockey
14 v. Moore, 107 Cal. App. 4th 86, 100 (2003)]; see also Fink v. Time Warner Cable,
15 714 F.3d 739, 742 (2d Cir. 2013) [“The primary evidence in a consumer-fraud case
16 arising out of allegedly false advertising is, of course, the advertising itself.”].)
17 Moreover, as the Second Circuit explained in Fink, “in determining whether a
18 reasonable consumer would have been misled by a particular advertisement, context
19 is crucial.” 714 F.3d at 742. For example, “under certain circumstances, the
20 presence of a disclaimer or similar clarifying language may defeat a claim of
21 deception.” Id. (citing Freeman v. Time, Inc., 68 F.3d 285, 289-290 (9th Cir. 1995)
22 [upholding dismissal of a challenge to a sweepstakes mailer because it explicitly
23 stated that the plaintiff would win only if he had the winning number]; Broder v.
24 MBNA Corp., 722 N.Y.S.2d 524, 526 (2001) [“[T]here can be no section 349(a)
25 claim when the allegedly deceptive practice was fully disclosed….”]). In addition,
26 “[a] plaintiff who alleges that he was deceived by an advertisement may not misquote
27 or misleadingly excerpt the language of the advertisement in his pleadings and expect
28 his action to survive a motion to dismiss, or, indeed, to escape admonishment.” Id.
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 1 (“easily conclud[ing] that Plaintiffs’ claims lack the facial plausibility necessary to
 2 survive a motion to dismiss” where “the allegations of the Complaint are materially
 3 inconsistent with the sole advertisement Plaintiffs have submitted”).
 4           Here, Plaintiffs allege that Chipotle’s broadly-defined “Non-GMO Claims”
 5 are, as a whole, deceptive because Chipotle’s meat and dairy ingredients are sourced
 6 from animals that may have consumed GMO feed and because Chipotle offers third-
 7 party soft drinks that may contain GMOs. (See Complaint, ¶¶ 42, 43.)
 8           This allegation is not plausible because, as Ms. Gallagher had admitted, but as
 9 Plaintiffs now disingenuously try to ignore, “Chipotle concedes in disclaimers that
10 some of its soft drinks contain GMOs, and that its meat and dairy supplies come from
11 animals fed with GMO grains.” (Complaint, ¶ 35 [citing GMO Webpage {RJN, Exh.
12 3}])2 Indeed, Chipotle’s GMO Webpage could not be more clear that “the meat and
13 dairy served at Chipotle are likely to come from animals given at least some GMO
14 feed” or that “[m]any of the beverages sold in [its] restaurants contain genetically
15 modified ingredients, including those containing high fructose corn syrup, which is
16 almost always made from GMO corn.” (GMO Webpage [RJN, Exh. 3].)
17           It is not plausible that a consumer who had reviewed these statements could
18 reasonably interpret Chipotle’s “Non-GMO Claims” to mean either that the animals
19 from which its meat and dairy ingredients are sourced had never consumed GMO
20 feed or that the third-party soft drinks that Chipotle offers are necessarily “non-
21 GMO.” See Ebner, 2016 WL 1056088, at *5 (holding it was “not plausible” that the
22 reasonable consumer would be deceived as to the amount of lip product in a tube
23
     2
     Because Plaintiffs challenge the representations made on Chipotle’s website, their
24 claims necessarily depend upon Chipotle’s website. Therefore, Plaintiffs cannot
25 object to the Court’s consideration of the website. See Knievel v. ESPN, 393 F.3d
   1068, 1079 (9th Cir. 2005) (The Ninth Circuit has “extended the ‘incorporation by
26 reference’ doctrine to situations in which the plaintiff’s claim depends on the contents
27 of the document, the defendant attaches the document to its motion to dismiss, and
   the parties do not dispute the authenticity of the document, even though the plaintiff
28 does not explicitly allege the contents of that document in the complaint.”).
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 1 where the label disclosed the correct weight of the included product.); Kane v.
 2 Chobani, Inc., 2013 WL 5289253, at *10 (N.D. Cal. Sept. 19, 2013) (“Because the
 3 labels clearly disclose the presence of the [allegedly unnatural ingredients] it is not
 4 plausible that Plaintiffs believed … that the [product] did not contain” them.).
 5           While Plaintiffs complain that these details are not set forth in writing inside
 6 Chipotle’s restaurants (see Complaint, ¶ 45), that fact is irrelevant where Plaintiffs
 7 are challenging all of Chipotle’s “Non-GMO Claims” as a whole and in their entirety
 8 (Complaint, ¶ 40).
 9           Moreover, the Complaint demonstrates how Chipotle encourages consumers to
10 review this information – one of the overhead menu panels, the restaurant door
11 graphic and the press release quoted or depicted in the Complaint each expressly
12 refer consumers to Chipotle’s GMO Webpage. (Id. at ¶¶ 35 & 37; Press Release
13 [RJN, Exh. 4].)3
14           The broad scope of Plaintiffs’ challenges to all of Chipotle’s “Non-GMO
15 Claims” renders the Ninth Circuit’s recent reversal of Balser v. Hain Celestial Group,
16 Inc., 2013 WL 6673617 (C.D. Cal. Dec. 18, 2013) irrelevant. Balser involved a
17 challenge to a defendant’s use of the word “natural” on cosmetic products. Relying
18 on the defendant’s website, the district court concluded, “Defendant actively defines
19 what its use of natural means, so that no reasonable consumer could be deceived.”
20 Id. at *1. On appeal, the Ninth Circuit reversed dismissal, in part by relying on
21 Williams to conclude that “product information on a website … cannot override as a
22 matter of law any misimpressions created by the label.” Balser v. Hain Celestial
23 Group, Inc., -- Fed. App’x --, 2016 WL 696507, *2 (9th Cir. Feb. 22, 2016) (citing
24 Williams, 552 F.3d at 939-940).
25           The reasoning of the Ninth Circuit in Williams and Balser has no application
26 here for at least two reasons. First, the Court must consider Chipotle’s website
27
     3
    Chipotle’s explicit disclosures necessarily defeat any purported concealment theory
28 of liability. (See Complaint, ¶¶ 47-49.)
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 1 because the statements made thereon are among the “Non-GMO Claims” that
 2 Plaintiffs challenge as deceptive. Second, the reasoning that defendants cannot rely
 3 upon disclaimers to “cure” otherwise deceptive statements does not apply where, as
 4 here, the challenged representations do not create any “misimpressions” in the first
 5 place. In such situations, where another source simply provides additional details
 6 regarding a statement that is not otherwise deceptive, it is appropriate for a court to
 7 consider that other source. See Pelayo, 989 F. Supp. 2d at 978 (“[T]o the extent there
 8 is any ambiguity regarding the definition of ‘All Natural’ with respect to each of the
 9 [challenged products], it is clarified by the detailed information contained in the
10 ingredient list.”); Hariston v. S. Beach Beverage, 2012 WL 1893818, at *5 (C.D. Cal.
11 May 18, 2012) (“the ingredient list is consistent with the front label statement”);
12 Rooney v. Cumberland Packing Corp., 2012 WL 1512106, *3-5 (S.D. Cal. Apr. 16,
13 2012) (holding that no reasonable consumer could be deceived by the label “Sugar in
14 the Raw” because the package stated in several places that the sugar was processed);
15 Viggiano v. Hansen Natural Corp., 944 F. Supp. 2d 877, 892 n.38 (C.D. Cal. May 13,
16 2013) (“In cases where a product’s front label is accurate and consistent with the
17 statement of ingredients, courts routinely hold that no reasonable consumer could be
18 misled by the label, because a review of the statement of ingredients makes the
19 composition of the [product] clear.”); Sugawara v. Pepsico, Inc., 2009 WL 1439115,
20 at *1 (E.D. Cal. May 21, 2009) (“If the consumer takes the box from the shelf and
21 examines the fine print of the ingredient list, he or she will discover that the only fruit
22 content is a touch of strawberry fruit concentrate, twelfth in order on the ingredient
23 list.”).
24            Because Chipotle explicitly discloses the facts that Plaintiffs allege were
25 misrepresented, no reasonable consumer could be deceived.
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 1           2.         The Reasonable Consumer Would Not Be Deceived By The “Non-GMO
 2                      Claims” Quoted Or Depicted In The Complaint.
 3           Even without looking at the information contained on Chipotle’s website, it is
 4 not plausible that the reasonable consumer would interpret Chipotle’s “Non-GMO
 5 Claims” in the manner alleged by Plaintiffs.
 6           The Ninth Circuit has stated that “common sense” should be used to resolve
 7 false advertising cases at the pleading stage. See Ebner, 2016 WL 1056088, at *2
 8 (“Determining whether a complaint states a plausible claim for relief is ‘a context-
 9 specific task that requires the reviewing court to draw on its judicial experience and
10 common sense.’”) (quoting Iqbal, 556 U.S. at 679); Carrea, 475 F. App’x 113 at
11 *115 (dismissing false advertising complaint where theory of liability “strain[ed]
12 credulity”); Stuart v. Cadbury Adams USA, LLC, 458 F. App’x 689, 690-691 (9th
13 Cir. 2011) (affirming district court’s conclusion that plaintiff’s claims “defy common
14 sense”). Accordingly, district courts routinely dismiss false advertising claims
15 pursuant to Rule 12(b)(6). See Manchouck v. Mondelez Int’l, Inc., 2013 WL
16 5400285, at *2 (N.D. Cal. Sept. 26, 2013) (“Plaintiff has not plausibly alleged why
17 the statement ‘made with real fruit’ would not include mechanically separated fruit
18 puree.”); Videtto v. Kellogg USA, 2009 WL 1439086, at *1-3 (E.D. Cal. May 21,
19 2009) (dismissing, without leave to amend, CLRA, FAL and UCL claims based on
20 allegations that consumers were misled by images of fruits into believing that “Froot
21 Loops” cereal contained “real, nutritious fruit”); McKinnis v. Sunny Delight
22 Beverages Co., 2007 WL 4766525, at *4 (C.D. Cal. Sept. 4, 2007) (“no reasonable
23 consumer, upon review of the label as a whole … would conclude Defendant’s
24 products contain significant quantities of fruit or fruit juice”).
25           Here, Plaintiffs have not proffered a single representation by Chipotle that its
26 “Non-GMO Claims” extend to either the feed consumed by the animals from which it
27 sources its meat and dairy ingredients or the third-party soft drinks that it offers.
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 1           To the contrary, the representations quoted or depicted in the Complaint
 2 convey to the reasonable consumer that Chipotle’s “Non-GMO Claims” apply only to
 3 the ingredients of the food prepared by it in its restaurants:
 4       • In the title of the press release – “Chipotle Becomes the First National
 5           Restaurant Company to Use Only Non-GMO Ingredients” – through which it
 6           announced its move to only “non-GMO ingredients,” Chipotle used the term
 7           “non-GMO” to qualify only the word “ingredients.” (Complaint, ¶ 31; RJN,
 8           Exh. 4.) Likewise, in the first sentence of that press release, Chipotle
 9           announces that it had “achieved its goal of moving to only non-GMO
10           ingredients to make all of the food in its U.S. restaurants….” (Id.) Nothing in
11           either statement – or in any of the other statements made in the press release –
12           suggests that Chipotle’s “non-GMO” representation extends to anything other
13           than the “ingredients” of its “food.”
14       • On Twitter, Chipotle announced: “We’re now making all of the food at our
15           US restaurants with only non-GMO ingredients.” (Complaint, ¶ 34.)
16       • One of the overheard menu panels depicted in the Complaint contains pictures
17           only of ingredients used in food products Chipotle prepares in its restaurants
18           and explains: “We prepare our delicious ingredients simply, using classic
19           cooking techniques, without added sugar, artificial sweetener, flavors, or
20           colors. This includes … only non-GMO ingredients.” (Id. at ¶¶ 1 & 38
21           [emphases added].) No reasonable consumer would interpret this
22           representation to extend beyond the “ingredients” of the food “prepared” or
23           “cooked” at Chipotle.
24       • In another overhead menu panel, Chipotle talks of “striving to make our
25           ingredients better” by replacing GMOs with “non-GMO ingredients.” (Id. at
26           ¶ 35 [emphasis added].)
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 1       • The “Farewell To GMOs” announcement affixed to Chipotle’s restaurant doors
 2           explains that GMOs “don’t make the cut” “[w]hen it comes to our food.” (Id.
 3           at ¶ 37 [emphasis added].)
 4           These examples demonstrate that Chipotle is careful and specific about what it
 5 says to consumers and that its use of the term “non-GMO” is consistently limited to
 6 the “ingredients” of its “food.” None of these statements – all of which are written in
 7 simple, everyday language – says anything about either the nature of the feed
 8 consumed by the animals from which Chipotle sources its meat and dairy ingredients
 9 or the third-party soft drinks that it offers. Therefore, it would not be reasonable for a
10 consumer to read into these representations statements that are not there.
11           This straightforward interpretation of Chipotle’s “Non-GMO Claims” is
12 supported by each of the domestic GMO labeling laws that have been enacted to date.
13 Vermont passed a law (currently set to become effective July 1, 2016) requiring
14 foods containing GMOs above a certain threshold amount to be labeled as GMO.
15 One of the exemptions from that labeling obligation is for “[f]oods consisting entirely
16 of or derived entirely from an animal that is itself not produced with genetic
17 engineering, regardless of whether the animal has been fed or injected with any food,
18 drug, or other substance produced with genetic engineering.” Vt. CP 121.03(a)(i).
19 Connecticut and Maine have followed suit. 2013 Conn. Legis. Serv. P.A. 13-183
20 (H.B. 6527); 22 MRSA §§2591-2596.
21           Some of the literature relied upon by Plaintiffs further supports the conclusion
22 that meat and dairy products sourced from non-GMO animals that merely consume
23 GMO feed should not be regarded as GMOs. (See Genetically Modified Organism
24 (GMO) Use in the Chicken Industry [RJN, Exh. 5] [cited at Complaint, ¶ 28, fn. 7]
25 [explaining that, despite the fact that “almost all corn and soybean used in
26 conventional livestock and poultry feed is genetically modified … chickens and
27 chicken meat are not genetically modified.”]; Ryan Beville, How Pervasive are
28 GMOs in Animal Feed?, GMO Insider Blog (July 16, 2013) (RJN, Exh. 6, cited at
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 1 Complaint, ¶ 28, fn. 8) (“[M]any countries that have food labeling laws do not have
 2 labeling requirements for animal feed, or for animal products produced from animals
 3 fed GMO crops.”)
 4           3.         Plaintiffs’ Allegations Regarding Consumers’ Purported Understanding
 5                      Of Terms And Representations Other Than Chipotle’s “Non-GMO
 6                      Claims” Are Irrelevant.
 7           Implicitly recognizing that no reasonable consumer could be deceived by
 8 Chipotle’s “Non-GMO Claims” as they actually appear in context, Plaintiffs attempt
 9 to cobble together an interpretation of those representations by ignoring, misstating
10 and misleadingly truncating Chipotle’s actual “Non-GMO Claims.”
11           To state a claim for deceptive advertising, Plaintiffs must proffer an objective
12 or plausible definition of the challenged term. See Pelayo, 989 F. Supp. 2d at 978.
13           In Pelayo, a consumer alleged that labeling that packaged pasta products were
14 “all natural” was false and deceptive because the products contained ingredients that
15 were unnatural, artificial or synthetic. The district court held that the plaintiff had not
16 shown “how the term ‘All Natural’ could be deceptive to a consumer acting
17 reasonably under the circumstances,” in part, because she “failed to allege either a
18 plausible objective definition of the term ‘All Natural’ or her subjective definition of
19 the term ‘All Natural’ that is shared by the reasonable consumer.” Id. at 980.
20           Here, Plaintiffs do not attempt to proffer a plausible definition of Chipotle’s
21 “Non-GMO Claims,” in which, as the Complaint demonstrates, Chipotle consistently
22 limits its use of the term “non-GMO” to the “ingredients” of its “food.” Rather,
23 Plaintiffs devote several pages at the beginning of the Complaint to analyzing terms
24 that Chipotle does not use and representations that it does not make.
25           While admitting that “the abbreviated term ‘GMO’ may generally refer to
26 genetically modified organisms,” Plaintiffs nevertheless contend that, “when used in
27 food marketing and labeling, terms like ‘non-GMO’ and ‘GMO free’ … have a
28 broader meaning to consumers in that they convey food products do not contain and
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 1 are not sourced or derived from genetically engineered foods and methods, such as
 2 genetically engineered corn that ends up in corn syrup and beef from a cow that was
 3 raised on a diet of genetically engineered or modified food.” (Complaint, ¶ 19.)
 4           This allegation alone is problematic in at least two respects. First, the Court
 5 has already questioned the plausibility of Plaintiffs’ position that “GMO” can mean
 6 “any organism whose genetic material has been altered using … genetic engineering
 7 techniques” but that the term “non-GMO” can take on an inconsistent and broader
 8 meaning in the limited context of food marketing and labeling. (See RJN, Exh. 1, p.
 9 6; 2016 WL 454083, *4.)4 Second, even if Plaintiffs’ interpretation were plausible,
10 they have not cited the Court to a single instance of Chipotle using the terms “non-
11 GMO” or “GMO free” in isolation.
12           Undeterred in their misguided analysis, Plaintiffs devote a number of
13 paragraphs of their Complaint to alleging how consumers and others purportedly
14 interpret the terms “GMO,” “non-GMO” and “GMO free” when they are considered
15 in a vacuum. (See Complaint, ¶¶ 19-23.) Chipotle has its doubts regarding whether
16 the reasonable consumer actually espouses the interpretations discussed by
17 Plaintiffs.5 However, even setting those concerns aside, the fundamental flaw with
18 Plaintiffs’ allegations is that they are irrelevant to an analysis of Chipotle’s “Non-
19 GMO Claims” because Chipotle does not use the term “non-GMO” in isolation. As
20 reflected in the Complaint, Chipotle’s use of the term “non-GMO” is consistently
21
     4
     Indeed, as the Court has recognized, and as Plaintiff Gallagher has previously
22 admitted, the term “organic” better describes “non-GMO meat and dairy products
23 sourced from animals that did not consume genetically modified feed.” (Order, p. 7
   [citing Gallagher Complaint, ¶ 38 {“Chipotle could use only meat and dairy products
24 certified ‘Organic,’ which is labeled on products that come from animals not fed with
25 genetically modified crops.”}].)
   5
     Notably, despite alleging that “consumers readily and understandably associate
26 ‘non-GMO’ marketing and similar terms with definitions set by the Non-GMO
27 Project” (Complaint, ¶ 20), none of Plaintiffs allege that they were aware of, or relied
   upon, Non-GMO Project definitions at the time of their respective purchases from
28 Chipotle. (See id. at ¶¶ 50-55.)
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 1 limited to the “ingredients” of its “food.” Therefore, even if it were plausible that,
 2 when used in a vacuum, the term “non-GMO” could be reasonably interpreted to
 3 extend to the nature of the feed consumed by animals from which meat and dairy
 4 ingredients are sourced, that fact is irrelevant where, as here, the term “non-GMO” is
 5 not used in a vacuum.
 6           Similarly, Plaintiffs discuss in their Complaint consumer research regarding
 7 hypothetical representations that Chipotle does not make. (See id. at ¶¶ 24-25.)
 8 Specifically, Plaintiffs rely upon a consumer survey, apparently conducted on their
 9 behalves, asking consumers about their expectations if faced with a representation
10 that a restaurant sells “food that does not contain GMOs.” (Id. at ¶ 25.) Plaintiffs
11 also point to a poll of Ohio voters asking about their expectations in response to “a
12 dairy product labeled as ‘non-GMO’….” (Id. at ¶ 24.) This research is meaningless
13 in the context of this lawsuit because none of the questions posed to the consumers in
14 the surveys mirrors Chipotle’s “Non-GMO Claims.” Specifically, Plaintiffs have not
15 identified a single representation by Chipotle regarding what its food “contains” or
16 using the term “non-GMO” in isolation.
17           Given the disconnect between Plaintiffs’ allegations and Chipotle’s actual
18 “Non-GMO Claims,” Plaintiffs’ conclusion that “consumers reasonably understand
19 food advertised or labeled as ‘non-GMO,’ ‘GMO free,’ ‘does not contain GMOs,’ or
20 other similar claims only apply to food” that does not contain animal products that
21 have a diet of GMO feed is irrelevant.
22           Because Plaintiffs have not proffered a plausible definition of the “Non-GMO
23 Claims” that they are challenging, they have failed to state a claim for deceptive
24 advertising.
25 B.        Plaintiffs Fail To State A Claim For Misrepresentation.
26           Plaintiffs assert claims for intentional misrepresentation and negligent
27 misrepresentation, both predicated exclusively upon alleged omissions. (See
28 Complaint, ¶¶ 139-142.)
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 1           Plaintiffs’ misrepresentation claims fail because an affirmative
 2 misrepresentation is an essential element of each claim. See Conte v. Wyeth, Inc.,
 3 168 Cal. App. 4th 89, 101 n.7 (2008) (“intentional misrepresentation requires an
 4 assertion of fact by one not believing it to be true”); Apollo Capital Fund, LLC v.
 5 Roth Capital Partners, LLC, 158 Cal. App. 4th 226, 243 (2007) (To state a claim for
 6 negligent misrepresentation, “a positive assertion is required; an omission or an
 7 implied assertion or representation is not sufficient.”).
 8           Another essential element of Plaintiffs’ misrepresentation claims is that the
 9 defendant must have made a false statement. See Service by Medallion, Inc. v.
10 Clorox Co., 44 Cal. App. 4th 1807, 1816 (1996) (The tort of intentional
11 misrepresentation requires “a knowingly false representation by the defendant.”);
12 Diediker v. Peelle Fin. Corp., 60 Cal. App. 4th 288, 297 (1997) (“Where the
13 defendant makes false statements, honestly believing that they are true, but without
14 reasonable ground for such belief, he may be liable for negligent misrepresentation, a
15 form of deceit.”). For the reasons set forth above, Chipotle’s “Non-GMO Claims”
16 are not false. Indeed, Plaintiffs do not allege that they are literally false.
17 C.        Plaintiffs Lack Standing To Pursue Injunctive Relief.
18           Despite acknowledging (see Complaint, ¶ 78 fn. 20) that the Court already
19 determined that it was “entirely implausible” that Plaintiff Gallagher “risks being
20 harmed by Defendant’s alleged misrepresentations again” and, therefore, “does not
21 have standing to seek injunctive relief” (RJN, Exh.1, p. 4; 2016 WL 454083 at *3),
22 Plaintiffs have prayed for injunctive relief. (See Complaint, Prayer for Relief, ¶ C.)
23           Plaintiffs lack standing to pursue injunctive relief. “To have standing to seek
24 prospective injunctive relief under Article III of the United States Constitution, a
25 plaintiff must ‘demonstrate a real and immediate threat of repeated injury in the
26 future.’” (RJN, Exh.1, p. 4; 2016 WL 454083 at *3 [quoting Chapman v. Pier 1
27 Imports (U.S.), Inc., 631 F. 3d 939, 946 (9th Cir. 2011)].) “In false advertising cases,
28 ‘where a plaintiff has no intention of purchasing the product in the future, a majority
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 1 of district courts have held that the plaintiff has no standing to seek prospective
 2 injunctive relief, and some have also held that a plaintiff who is aware of allegedly
 3 misleading advertising has no standing to seek prospective injunctive relief.’” (Id. at
 4 4-5 [quoting Davidson v. Kimberly-Clark Corp., 2014 WL 7247398, *4 (N.D. Cal.
 5 Dec. 19, 2014)].)
 6           Plaintiffs do not allege that they intend to purchase products from Chipotle
 7 again in the future. To the contrary, Plaintiffs allege that they “would not have
 8 purchased Chipotle’s menu items at the price [they] had paid, or purchased it at all,
 9 had [they] known that Chipotle’s non-GMO and GMO free representations made
10 were materially deceptive and misleading.” (Complaint, ¶¶ 50-55.) Thus, “[i]t is
11 entirely implausible that Plaintiff[s] risk[] being harmed by Defendant’s alleged
12 misrepresentations again.” (RJN, Exh.1, p. 5; 2016 WL 454083 at *3 [citing
13 Gershman v. Bayer HealthCare, LLC, 2015 WL 2170214, *8 (N.D. Cal. May 8,
14 2015)].) Therefore, Plaintiffs have “not alleged ‘a real and immediate threat’ of
15 future injury and do[] not have standing to seek injunctive relief.” (Id.)
16 D.        Plaintiffs Fail To State A Claim For Unjust Enrichment And Declaratory
17           Relief.
18           Plaintiffs fail to state a claim for unjust enrichment against Chipotle because
19 unjust enrichment is not a recognized cause of action. Specifically, “[t]he phrase
20 ‘unjust enrichment’ does not describe a theory of recovery, but an effect: the result
21 of a failure to make restitution under circumstances where it is equitable to do so.”
22 Lauriedale Assoc., Ltd. v. Wilson, 7 Cal. App. 4th 1439, 1448 (1992); accord McKell
23 v. Washington Mut., Inc., 142 Cal. App. 4th 1457, 1490 (2006); see also Hill v. Roll
24 Int’l Corp, 195 Cal. App. 4th 1295, 1307 (2011) (affirming sustaining of demurrer to
25 unjust enrichment cause of action).
26           Plaintiffs also fail to state a claim for declaratory relief against Chipotle
27 because, for the several reasons set forth above, they have not alleged an actual
28 controversy between the parties. See 28 U.S.C. § 2201(a).
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 1                                    VI. CONCLUSION
 2           For the foregoing reasons, Chipotle respectfully requests that the Complaint be
 3 dismissed, with prejudice.
 4
 5 Dated: May 17, 2016
 6                               MESSNER REEVES, LLP
 7                               SHEPPARD, MULLIN, RICHTER & HAMPTON                    LLP

 8
 9                                  By                     /s/ Sascha Henry
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